Case 19-80069-TLS               Doc 7     Filed 02/22/19 Entered 02/22/19 18:02:13                       Desc Main
                                          Document     Page 1 of 26




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEBRASKA

                                                                              )
    In re:                                                                    ) Chapter 11
                                                                              )
    SPECIALTY RETAIL SHOPS HOLDING CORP., et al., 1                           ) Case No. 19-80064 (TLS)
                                                                              )
                                       Debtors.                               ) (Jointly Administered)
                                                                              )



                          SCHEDULE OF ASSETS AND LIABILITIES FOR
                           SHOPKO FINANCE, LLC (CASE NO. 19-80069)




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
      Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
      R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
      Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
      LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
      (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
Case 19-80069-TLS         Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13              Desc Main
                                   Document     Page 2 of 26



                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEBRASKA

                                                                )
In re:                                                          ) Chapter 11
                                                                )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al.,                   ) Case No. 19-80064-TLS
                                                                )
                      Debtors.                                  ) (Jointly Administered)
                                                                )

                           GLOBAL NOTES AND
               STATEMENT OF LIMITATIONS, METHODOLOGY,
          AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
     OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Specialty Retail Shops Holding Corp. and certain of its affiliates, as debtors and debtors in
possession in the above-captioned chapter 11 cases, (the “Debtors”) have filed their respective
Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs
(the “Statements”) in the United States Bankruptcy Court for the District of Nebraska
(the “Bankruptcy Court”). The Debtors, with the assistance of their legal and financial advisors,
prepared the Schedules and Statements in accordance with section 521 of chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
Procedure.

       Russell L. Steinhorst has signed each set of the Schedules and Statements. Mr. Steinhorst
serves as the Chief Executive Officer at Debtor Specialty Retail Shops Holding Corp., and he is
an authorized signatory for each of the Debtors. In reviewing and signing the Schedules and
Statements, Mr. Steinhorst has necessarily relied upon the efforts, statements, advice, and
representations of personnel of the Debtors and the Debtors’ legal and financial advisors. Given
the scale of the Debtors’ business and the hundreds of stores covered by the Schedules and
Statements, Mr. Steinhorst has not (and could not have) personally verified the accuracy of each
such statement and representation, including statements and representations concerning amounts
owed to creditors.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made every reasonable effort to ensure the accuracy and completeness of the
Schedules and Statements, subsequent information or discovery may result in material changes to
the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the Schedules
and Statements as may be necessary or appropriate.

        The Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein, and shall not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
Case 19-80069-TLS         Doc 7   Filed 02/22/19 Entered 02/22/19 18:02:13             Desc Main
                                  Document     Page 3 of 26



communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly do
not undertake any obligation to update, modify, revise, or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised, or re-
categorized, except as required by applicable law. In no event shall the Debtors or their agents,
attorneys, and financial advisors be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, and financial advisors are advised of the possibility of such damages.

                          Global Notes and Overview of Methodology

1.     Description of Cases. On January 16, 2019, (the “Petition Date”), each of the Debtors
       filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors
       are operating their businesses and managing their property as debtors in possession
       pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On January 16, 2019, an
       order was entered directing procedural consolidation and joint administration of these
       chapter 11 cases [Docket No. 25]. Notwithstanding the joint administration of the Debtors’
       cases for procedural purposes, each Debtor has filed its own Schedules and Statements.
       The information provided herein, except as otherwise noted, is reported as of the close of
       business on the Petition Date.

2.     Global Notes Control. These Global Notes pertain to and comprise an integral part of
       each of the Debtors’ Schedules and Statements and should be referenced in connection
       with any review thereof. In the event that the Schedules and Statements conflict these
       Global Notes, these Global Notes shall control.

3.     Reservations and Limitations. Reasonable efforts have been made to prepare and file
       complete and accurate Schedules and Statements; however, as noted above, inadvertent
       errors or omissions may exist. The Debtors reserve all rights to amend and supplement the
       Schedules and Statements as may be necessary or appropriate. Nothing contained in the
       Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an admission
       of any kind with respect to these chapter 11 cases, including, but not limited to, any rights
       or claims of the Debtors against any third party or issues involving substantive
       consolidation, equitable subordination, or defenses or causes of action arising under the
       provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy
       or non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
       rights contained elsewhere in the Global Notes does not limit in any respect the general
       reservation of rights contained in this paragraph.

       (a)     No Admission. Nothing contained in the Schedules and Statements is intended or
               should be construed as an admission or stipulation of the validity of any claim
               against the Debtors, any assertion made therein or herein, or a waiver of the
               Debtors’ rights to dispute any claim or assert any cause of action or defense against
               any party.


                                                 2
Case 19-80069-TLS     Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13                Desc Main
                               Document     Page 4 of 26



     (b)   Recharacterization. Notwithstanding that the Debtors have made reasonable
           efforts to correctly characterize, classify, categorize, or designate certain claims,
           assets, executory contracts, unexpired leases, and other items reported in the
           Schedules and Statements, the Debtors nonetheless may have improperly
           characterized, classified, categorized, or designated certain items. The Debtors thus
           reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
           reported in the Schedules and Statements at a later time as is necessary and
           appropriate.

     (c)   Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
           Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
           “executory” or “unexpired” does not constitute an admission by the Debtors of the
           legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
           rights to recharacterize or reclassify such claim or contract.

     (d)   Claims Description. Any failure to designate a claim on a given Debtor’s
           Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
           constitute an admission by the Debtor that such amount is not “disputed,”
           “contingent,” or “unliquidated.” The Debtors reserve all rights to dispute, or assert
           offsets or defenses to, any claim reflected on their respective Schedules and
           Statements on any grounds, including, without limitation, liability or classification,
           or to otherwise subsequently designate such claims as “disputed,” “contingent,” or
           “unliquidated” or object to the extent, validity, enforceability, priority, or
           avoidability of any claim. Moreover, listing a claim does not constitute an
           admission of liability by the Debtor against which the claim is listed or by any of
           the Debtors. The Debtors reserve all rights to amend their Schedules and
           Statements as necessary and appropriate, including, but not limited to, with respect
           to claim description and designation.

     (e)   Estimates and Assumptions. The preparation of the Schedules and Statements
           required the Debtors to make reasonable estimates and assumptions with respect to
           the reported amounts of assets and liabilities, the amount of contingent assets and
           contingent liabilities on the date of the Schedules and Statements, and the reported
           amounts of revenues and expenses during the applicable reporting periods. Actual
           results could differ from such estimates.

     (f)   Causes of Action. Despite reasonable efforts, the Debtors may not have identified
           and/or set forth all of their causes of action (filed or potential) against third parties
           as assets in their Schedules and Statements, including, without limitation,
           avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
           other relevant bankruptcy and non-bankruptcy laws to recover assets. The Debtors
           reserve all rights with respect to any causes of action, and nothing in these Global
           Notes or the Schedules and Statements should be construed as a waiver of any such
           causes of action.

     (g)   Intellectual Property Rights. Exclusion of certain intellectual property should not
           be construed to be an admission that such intellectual property rights have been


                                              3
Case 19-80069-TLS    Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13               Desc Main
                              Document     Page 5 of 26



           abandoned, have been terminated or otherwise expired by their terms, or have been
           assigned or otherwise transferred pursuant to a sale, acquisition, or other
           transaction. Conversely, inclusion of certain intellectual property should not be
           construed to be an admission that such intellectual property rights have not been
           abandoned, have not been terminated or otherwise expired by their terms, or have
           not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
           transaction.

     (h)   Insiders. In the circumstance where the Schedules and Statements require
           information regarding “insiders” the Debtors have included information with
           respect to the individuals who the Debtors believe are included in the definition of
           “insider” set forth in section 101(31) of the Bankruptcy Code during the relevant
           time periods. Such individuals may no longer serve in such capacities. In the
           interest of additional disclosure, the Debtors have also included certain individuals
           who may have officer titles in their responses to Statements, Part 13, Question 28.

           The listing of a party as an insider for purposes of the Schedules and Statements is
           not intended to be, nor should it be, construed an admission of any fact, right, claim,
           or defense, and all such rights, claims, and defenses are hereby expressly reserved.
           Information regarding the individuals listed as insiders in the Schedules and
           Statements has been included for informational purposes only and such information
           may not be used for the purposes of determining control of the Debtors, the extent
           to which any individual exercised management responsibilities or functions,
           corporate decision-making authority over the Debtors, or whether such individual
           could successfully argue that he or she is not an insider under applicable law,
           including the Bankruptcy Code and federal securities laws, or with respect to any
           theories of liability or any other purpose.

4.   Methodology.

     (a)   Basis of Presentation. The Schedules and Statements do not purport to represent
           financial statements prepared in accordance with Generally Accepted Accounting
           Principles in the United States (“GAAP”), nor are they intended to be fully
           reconciled to the financial statements of each Debtor. The Schedules and
           Statements contain unaudited information that is subject to further review and
           potential adjustment. The Schedules and Statements reflect the Debtors’
           reasonable efforts to report the assets and liabilities of each Debtor on an
           unconsolidated basis.

     (b)   Confidential Information. There may be instances in the Schedules and
           Statements where the Debtors deemed it necessary and appropriate to redact from
           the public record information such as names, addresses, or amounts. Typically, the
           Debtors have used this approach because of an agreement between the Debtors and
           a third party, concerns of confidentiality and protection of sensitive commercial
           information (e.g., names of customers), or concerns for the privacy of an individual.




                                             4
Case 19-80069-TLS    Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13              Desc Main
                              Document     Page 6 of 26



     (c)   Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
           may properly be disclosed in response to multiple parts of the Statements and
           Schedules. To the extent these disclosures would be duplicative, the Debtors have
           determined to only list such assets, liabilities and prepetition payments once.

     (d)   Net Book Value. In certain instances, current market valuations for individual
           items of property and other assets are neither maintained by, nor readily available
           to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
           and Statements reflect net book values as of January 15, 2019. Market values may
           vary, at certain times materially, from net book values. The Debtors believe that it
           would be an inefficient use of estate assets for the Debtors to obtain the current
           market values of their property. Accordingly, the Debtors have indicated in the
           Schedules and Statements that the values of certain assets and liabilities are
           undetermined. Also, assets that have been fully depreciated or that were expensed
           for accounting purposes either do not appear in these Schedules and Statements or
           are listed with a zero-dollar value, as such assets have no net book value. The
           omission of an asset from the Schedules and Statements does not constitute a
           representation regarding the ownership of such asset, and any such omission does
           not constitute a waiver of any rights of the Debtors with respect to such asset.

     (e)   Property and Equipment. Unless otherwise indicated, owned property and
           equipment are valued at net book value. The Debtors may lease furniture, fixtures,
           and equipment from certain third-party lessors. To the extent possible, any such
           leases are listed in the Schedules and Statements. Nothing in the Schedules and
           Statements is, or should be construed as, an admission as to the determination of
           the legal status of any lease (including whether any lease is a true lease or a
           financing arrangement), and the Debtors reserve all rights with respect thereto.

     (f)   Allocation of Liabilities. The Debtors allocated liabilities between the prepetition
           and postpetition periods based on the information and research conducted in
           connection with the preparation of the Schedules and Statements. As additional
           information becomes available and further research is conducted, the allocation of
           liabilities between the prepetition and postpetition periods may change.

     (g)   Undetermined Amounts. The description of an amount as “undetermined” is not
           intended to reflect upon the materiality of such amount.

     (h)   Unliquidated Amounts. Amounts that could not be fairly quantified by the
           Debtors are scheduled as “unliquidated.”

     (i)   Totals. All totals that are included in the Schedules and Statements represent totals
           of all known amounts. To the extent there are unknown or undetermined amounts,
           the actual total may be different than the listed total.

     (j)   Paid Claims. The Debtors have authority to pay certain outstanding prepetition
           payables pursuant to bankruptcy or other court order; as such, outstanding liabilities
           may have been reduced by any court-approved postpetition payments made on



                                             5
Case 19-80069-TLS    Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13               Desc Main
                              Document     Page 7 of 26



           prepetition payables. Where and to the extent these liabilities have been satisfied,
           they are not listed in the Schedules and Statements with the exception that liabilities
           with respect to the Debtors’ prepetition vendors may be listed at the amount
           outstanding as of the Petition Date, regardless of whether such claims have been
           settled and paid postpetition in accordance with the Order (I) Authorizing the
           Debtors to Pay Prepetition Claims of Lien Claimants, Import Claimants, and
           503(B)(9) Claimants, (II) Confirming Administrative Expense Priority of
           Outstanding Orders, and (III) Granting Related Relief [Docket No. 74] (the “Lien
           Claimants Order”). To the extent the Debtors later pay any amount of the claims
           listed in the Schedules and Statements pursuant to any orders entered by the
           Bankruptcy Court, the Debtors reserve all rights to amend or supplement the
           Schedules and Statements or to take other action, such as filing claims objections,
           as is necessary and appropriate to avoid overpayment or duplicate payments for
           liabilities. Nothing contained herein should be deemed to alter the rights of any
           party in interest to contest a payment made pursuant to an order of the Bankruptcy
           Court where such order preserves the right to contest.

     (k)   Intercompany Claims. Receivables and payables among the Debtors and among
           the Debtors and their non-Debtor affiliates are used for accounting purposes only
           and are never settled in cash. Furthermore, as these claims net to zero on a
           consolidated basis, they are not included in the Statements and Schedules.

     (l)   Guarantees and Other Secondary Liability Claims. The Debtors have exercised
           reasonable efforts to locate and identify guarantees in their executory contracts,
           unexpired leases, secured financings, and other such agreements. Where
           guarantees have been identified, they have been included in the relevant Schedules
           G and H for the affected Debtor or Debtors. The Debtors may have inadvertently
           omitted guarantees embedded in their contractual agreements and may identify
           additional guarantees as they continue their review of their books and records and
           contractual agreements. The Debtors reserve their rights, but are not required, to
           amend the Schedules and Statements if additional guarantees are identified.

     (m)   Excluded Assets and Liabilities. The Debtors have excluded the following
           categories of assets and liabilities from the Schedules and Statements: certain
           deferred charges, accounts, or reserves recorded only for purposes of complying
           with the requirements of GAAP; deferred tax assets and liabilities; goodwill and
           other intangibles; deferred revenue accounts; and certain accrued liabilities
           including, but not limited to, accrued salaries and employee benefits. Other
           immaterial assets and liabilities may also have been excluded.

     (n)   Liens. The inventories, property and equipment listed in the Schedules and
           Statements are presented without consideration of any liens.

     (o)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

     (p)   Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary
           course of business. Such setoffs and nettings may occur due to a variety of



                                             6
Case 19-80069-TLS     Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13              Desc Main
                               Document     Page 8 of 26



            transactions or disputes including, but not limited to, intercompany transactions,
            counterparty settlements, pricing discrepancies, rebates, returns, warranties,
            refunds, and negotiations and/or disputes between Debtors and their customers
            and/or suppliers. These normal, ordinary course setoffs and nettings are common
            to the retail industry. Due to the voluminous nature of setoffs and nettings, it would
            be unduly burdensome and costly for the Debtors to list each such transaction.
            Therefore, although such setoffs and other similar rights may have been accounted
            for when scheduling certain amounts, these ordinary course setoffs are not
            independently accounted for, and as such, are or may be excluded from the Debtors’
            Schedules and Statements. In addition, some amounts listed in the Schedules and
            Statements may have been affected by setoffs or nettings by third parties of which
            the Debtors are not yet aware. The Debtors reserve all rights to challenge any setoff
            and/or recoupment rights that may be asserted.

5.   Specific Schedules Disclosures.

     (a)    Schedule A/B, Part 1, Question 4. The Debtors consider credit card A/R as a “cash
            equivalent” and such amounts are listed in Schedule A/B, Part 1, Question 4 rather
            than A/B Part 3, Question 11.

     (b)    Schedule A/B, Parts 1 and 2 – Cash and Cash Equivalents; Deposits and
            Prepayments. Details with respect to the Debtors’ cash management system and
            bank accounts are provided in the Debtors’ Motion for Entry of a Final Order (I)
            Authorizing the Debtors to (A) Continue to Operate their Cash Management
            System, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain
            Existing Business Forms, and (D) Perform Intercompany Transactions, and (II)
            Granting Related Relief [Docket No. 18] (the “Cash Management Motion”) and
            any orders of the Bankruptcy Court granting the Cash Management Motion.

            As described in the Cash Management Motion, the Debtors have 285 non-
            consolidated store-level deposit accounts, all of which are swept daily to a zero
            balance. For purposes of the Schedules and Statements, therefore, the Debtors have
            listed such balances at the amount as of January 15, 2019.

            Additionally, the Bankruptcy Court, pursuant to the Order (I) Approving the
            Debtors’ Proposed Adequate Assurance of Payment for Future Utility Services, (II)
            Prohibiting Utility Companies from Altering, Refusing, or Discontinuing
            Services,(III) Approving the Debtors’ Proposed Procedures for Resolving
            Additional Assurance Requests, and (IV) Granting Related Relief [Docket No. 71],
            has authorized the debtors to provide adequate assurance of payment for future
            utility services, including an initial deposit in the aggregate amount of $1.29
            million. Such deposits are not listed on Schedule A/B, Part 2, which has been
            prepared as of the Petition Date.

     (c)    Schedule A/B, Part 3, Question 11. No doubtful or uncollectible amounts are
            listed in either Question 11a or 11b. The Debtors’ accounting practice is to list the




                                              7
Case 19-80069-TLS    Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13             Desc Main
                              Document     Page 9 of 26



           full value of the receivable and write that amount off to the extent it becomes
           uncollectable.

     (d)   Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and Interests
           in Incorporated and Unincorporated Businesses, including any Interest in an
           LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries,
           partnerships, and joint ventures have been listed in Schedule A/B, Part 4, as
           undetermined amounts on account of the fact that the fair market value of such
           ownership is dependent on numerous variables and factors, and may differ
           significantly from their net book value.

     (e)   Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
           Collectibles. Dollar amounts are presented net of accumulated depreciation and
           other adjustments.

     (f)   Schedule A/B, Part 11 – All Other Assets. Dollar amounts are presented net of
           impairments and other adjustments.

           Additionally, the Debtors may receive refunds for sales and use tax at various times
           throughout their fiscal year. As of the Petition Date, however, certain of these
           amounts are unknown to the Debtors, and accordingly, may not be listed in
           Schedule A/B.

           Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
           including Counterclaims of the Debtor and Rights to Setoff Claims. In the
           ordinary course of their businesses, the Debtors may have accrued, or may
           subsequently accrue, certain rights to counter-claims, cross-claims, setoffs, refunds
           with their customers and suppliers, or potential warranty claims against their
           suppliers. Additionally, certain of the Debtors may be party to pending litigation
           in which the Debtors have asserted, or may assert, claims as a plaintiff or counter-
           claims and/or cross-claims as a defendant. Because certain of these claims are
           unknown to the Debtors and not quantifiable as of the Petition Date, they may not
           be listed on Schedule A/B, Part 11.

           Interests in Insurance Policies or Annuities. A list of the Debtors’ insurance
           policies and related information is available in the Debtors’ Motion for Entry of an
           Order (I) Authorizing the Debtors to (A) Continue and Renew their Liability,
           Property, Casualty, and Other Insurance Policies and Honor all Obligations in
           Respect Thereof, (B) Continue and Renew their Prepetition Insurance Premium
           Financing Agreements, and (C) Continue the Surety Bond Programs, and (II)
           Granting Related Relief [Docket No. 13]. The Debtors believe that there is little or
           no cash value to the vast majority of such insurance policies. To the extent an
           insurance policy is determined to have value, it will be included in Schedule A/B.

           Executory Contracts and Unexpired Leases. Because of the large number of the
           Debtors’ executory contracts and unexpired leases, as well as the size and scope of




                                             8
Case 19-80069-TLS     Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13                Desc Main
                              Document      Page 10 of 26



           such documents, the Debtors have not attached such agreements to Schedule A/B.
           Instead, the Debtors have only listed such agreements in Schedule G.

     (g)   Schedule A/B, Part 11, Question 72. The amounts listed reflect a tax effective rate
           that is an estimate for the go-forward used NOLs and tax refunds assuming a change
           in control.

     (h)   Schedule D – Creditors Who Have Claims Secured by Property. Except as
           otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy Court,
           the Debtors reserve their rights to dispute or challenge the validity, perfection, or
           immunity from avoidance of any lien purported to be granted or perfected in any
           specific asset to a secured creditor listed on Schedule D. Moreover, although the
           Debtors have scheduled claims of various creditors as secured claims, the Debtors
           reserve all rights to dispute or challenge the secured nature of any such creditor’s
           claim or the characterization of the structure of any such transaction or any
           document or instrument related to such creditor’s claim.

           The descriptions provided in Schedule D are intended only to be a summary.
           Reference to the applicable agreements and other related relevant documents is
           necessary for a complete description of the collateral and the nature, extent, and
           priority of any liens. In certain instances, a Debtor may be a co-obligor, co-
           mortgagor, or guarantor with respect to scheduled claims of other Debtors, and no
           claim set forth on Schedule D of any Debtor is intended to acknowledge claims of
           creditors that are otherwise satisfied or discharged by other entities.

           The Debtors have not included on Schedule D parties that may believe their claims
           are secured through setoff rights or inchoate statutory lien rights. Although there
           are multiple parties that hold a portion of the debt included in the secured facilities,
           only the administrative agents have been listed for purposes of Schedule D.

           Additionally, the treatment of certain secured creditors’ claims listed in Schedule
           D are subject to the payment priority set forth in that certain Third Amended and
           Restated Loan and Security Agreement, dated as of February 7, 2012 (as amended
           by that certain Ratification and Amendment Agreement, dated as of January 16,
           2019, and as further amended, restated, supplemented, or otherwise modified from
           time to time).

     (i)   Schedule E/F – Creditors Who Have Unsecured Claims.

           Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Order (I)
           Authorizing the Payment of Certain Prepetition and Postpetition Taxes and Fees
           and (II) Granting Related Relief [Docket No. 68] (the “Taxes Order”), the Debtors
           have been granted the authority to pay, in their discretion, certain tax liabilities that
           accrued prepetition. Accordingly, any unsecured priority claims based upon
           prepetition tax accruals that have been paid pursuant to the Taxes Order are not
           listed in Schedule E.




                                              9
Case 19-80069-TLS     Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13                Desc Main
                              Document      Page 11 of 26



           Moreover, in lieu of listing all of the Debtors’ possible taxing authorities for notice
           purposes in Schedule E/F—a list that numbers in the thousands—the Debtors have
           only listed those taxing authorities with which the Debtors have pending audits.

     (j)   Furthermore, pursuant to the Order (I) Authorizing the Debtors to (A) Pay
           Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses,
           and (B) Continue Employee Benefits Programs and (II) Granting Related Relief
           [Docket No. 98] (the “Wages Order”) the Debtors received final authority to pay
           certain prepetition obligations, including to pay employee wages and other
           employee benefits, in the ordinary course of business. The Debtors have not listed
           on Schedule E/F any wage or wage-related obligations for which the Debtors have
           been granted authority to pay pursuant to the Employee Wage Order or other order
           that may be entered by the Bankruptcy Court. The Debtors believe that any
           non-insider employee claims for prepetition amounts related to ongoing payroll and
           benefits, whether allowable as a priority or nonpriority claim, have been or will be
           satisfied, and such satisfied amounts are not listed.

           The listing of a claim on Schedule E/F, Part 1, does not constitute an admission by
           the Debtors that such claim or any portion thereof is entitled to priority status.

           Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
           in Schedule E/F, Part 2, are derived from the Debtors’ books and records. The
           Debtors made a reasonable attempt to set forth their unsecured obligations,
           although the actual amount of claims against the Debtors may vary from those
           liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect
           the correct amount of any unsecured creditor’s allowed claims or the correct
           amount of all unsecured claims.

           The Debtors generally allocate individual liabilities to particular Debtors.
           However, in certain cases, it would be a time-consuming and inefficient use of
           estate resources, or impracticable, to assign a given liability to a particular Debtor
           based on a contractual obligation. Instead, the Schedules reflect the liability based
           on the Debtors books and records.

           Schedule E/F, Part 2, contains information regarding certain compensation-related
           claims of insiders of the Debtors, with such claims being listed as both “contingent”
           and “unliquidated.” In scheduling such claims, the Debtors make no representation
           or assertion as to the validity of such claims, and the Debtors reserve all rights,
           claims, and defenses in connection therewith.

           Schedule E/F, Part 2, contains information regarding threatened or pending
           litigation involving the Debtors. The amounts for these potential claims are listed
           as “undetermined” and are marked as contingent, unliquidated, and disputed in the
           Schedules and Statements. For the avoidance of doubt, demand letters received
           from potential litigants as a result of alleged injuries sustained at one of the Debtors’
           stores that do not list a specific Debtor are listed on Debtor Specialty Retail Shops




                                              10
Case 19-80069-TLS    Doc 7     Filed 02/22/19 Entered 02/22/19 18:02:13              Desc Main
                              Document      Page 12 of 26



           Holding Corp.’s (“Specialty Retail”) Schedules as Specialty Retail is the signatory
           to all store leases.

           Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
           to executory contracts and unexpired leases. Such prepetition amounts, however,
           may be paid in connection with the assumption or assumption and assignment of
           an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
           not include claims that may arise in connection with the rejection of any executory
           contracts and unexpired leases, if any, that may be or have been rejected.

           In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or were
           incurred on various dates or on a date or dates that are unknown to the Debtors or
           are subject to dispute. Where the determination of the date on which a claim arose,
           accrued, or was incurred would be unduly burdensome and costly to the Debtors’
           estates, the Debtors have not listed a specific date or dates for such claim.

           As of the time of filing of the Schedules and Statements, the Debtors had not
           received all invoices for payables, expenses, and other liabilities that may have
           accrued prior to the Petition Date. Accordingly, the information contained in
           Schedules D and E/F may be incomplete. The Debtors reserve their rights, but
           undertake no obligations, to amend Schedules D and E/F if and as they receive such
           invoices.

     (k)   Schedule G – Executory Contracts and Unexpired Leases. While reasonable
           efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
           omissions may have occurred. Additionally, relationships between the Debtors and
           its customers are often governed by a master services agreement, under which
           customers also place work and purchase orders, which may be considered
           executory contracts. Disclosure of all of these purchase and work orders, however,
           is impracticable and unduly burdensome. Accordingly, to the extent the Debtors
           have determined to disclose master services agreements in Schedule G, purchase
           and work orders placed thereunder may have been omitted.

           Listing a contract or agreement on Schedule G does not constitute an admission
           that such contract or agreement is an executory contract or unexpired lease or that
           such contract or agreement was in effect on the Petition Date or is valid or
           enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
           status, or enforceability of any contracts, agreements, or leases set forth in Schedule
           G and to amend or supplement such Schedule as necessary. Certain of the leases
           and contracts listed on Schedule G may contain renewal options, guarantees of
           payment, indemnifications, options to purchase, rights of first refusal and other
           miscellaneous rights. Such rights, powers, duties and obligations are not set forth
           separately on Schedule G. In addition, the Debtors may have entered into various
           other types of agreements in the ordinary course of their business, such as
           supplemental agreements and letter agreement, which documents may not be set
           forth in Schedule G.




                                             11
Case 19-80069-TLS      Doc 7     Filed 02/22/19 Entered 02/22/19 18:02:13                Desc Main
                                Document      Page 13 of 26



            The Debtors reserve all rights to dispute or challenge the characterization of any
            transaction or any document or instrument related to a creditor’s claim.

            In some cases, the same supplier or provider may appear multiple times in Schedule
            G. Multiple listings, if any, reflect distinct agreements between the applicable
            Debtor and such supplier or provider.

            The listing of any contract on Schedule G does not constitute an admission by the
            Debtors as to the validity of any such contract. The Debtors reserve the right to
            dispute the effectiveness of any such contract listed on Schedule G or to amend
            Schedule G at any time to remove any contract.

            Omission of a contract or agreement from Schedule G does not constitute an
            admission that such omitted contract or agreement is not an executory contract or
            unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
            any such omitted contracts or agreements are not impaired by the omission. Certain
            Debtors are guarantors and parties to guaranty agreements regarding the Debtors’
            prepetition credit facility. The guaranty obligations arising under these agreements
            are reflected on Schedules D and F only.

     (l)    Schedule H – Co-Debtors. For purposes of Schedule H, only the agent under the
            prepetition credit facility or counterparties that are subject to a guaranty are listed
            as Co-Debtors on Schedule H. The Debtors have not listed any litigation-related
            Co-Debtors on Schedule H. Instead, all such listings can be found on the Debtors’
            Schedule E/F.

6.   Specific Statements Disclosures.

     (a)    To the extent: (i) a person qualified as an “insider” in the year prior to the Petition
            Date, but later resigned their insider status or (ii) did not begin the year as an insider,
            but later became an insider, the Debtors have only listed those payments made
            while such person was defined as an insider in Statements, Part 2, Question 4.

     (b)    Statements, Part 2, Question 6 – Setoffs. For a discussion of setoffs and nettings
            incurred by the Debtors, refer to paragraph 4(p) of these Global Notes.

     (c)    Statements, Part 5, Question 10 – Certain Losses. Given the scale of the
            Debtors’ store footprint, certain losses, including those losses attributable to theft,
            are unable to be tracked by the Debtors with complete accuracy, and accordingly,
            such losses have not been listed on the Debtors’ Statements. Additionally, the
            Debtors only account for general recoveries of such losses, with this general amount
            being the recovery listed in the Statements for the 1 year immediately before the
            Petition Date.

     (d)    Statements, Part 6, Question 11 – Payments Related to Bankruptcy. The
            attachment to Question 11 on all Statements reflect payments to professionals on
            behalf of the Debtors on a consolidated basis. The Debtors believe that it would be



                                               12
Case 19-80069-TLS    Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13              Desc Main
                             Document      Page 14 of 26



           an inefficient use of the assets of the Debtors’ estates for the Debtors to allocate
           these payments on a Debtor-by-Debtor basis.

     (e)   Statements, Part 6, Question 13 – Transfers not Already Listed on Statements.
           In the ordinary course of their business, the Debtors often close or remodel store
           locations, and in the process of doing so, may give away certain fixtures possessing
           little to no economic value. Given the frequency of such gifts and the difficulty in
           accounting for them, the Debtors have not listed such transfers in their Statements.

     (f)   Statements, Part 11, Question 21 – Property Held for Another. The Debtors
           are obligated under various agreements and programs to remit certain funds held
           for third parties to those parties, and have received authorization to do so under
           both the Lien Claimants Order and Wages Order. To the extent that any of the
           funds described above are held or paid for the benefit of third parties, such funds
           may not constitute property of the Debtors’ estates, and the Debtors therefore have
           not included such amounts in their responses to Statement Question 21. The
           Debtors further reserve all rights they have as to whether any such funds constitute
           property of the estate.

     (g)   Statements, Part 7, Question 14 – Prior Locations. The Debtors operate a
           national enterprise with locations throughout the U.S. The Debtors have not
           disclosed the addresses of all of these locations. Rather, the address of each
           Debtor’s main center of operations or headquarters was included in the Debtors’
           Voluntary Petitions. For most of these locations, the dates of occupancy are not
           readily available.

     (h)   Statements, Part 12, Questions 22-24 – Details About Environmental
           Information. The Debtors have endeavored to disclose all applicable information
           in response to Statements, Part 12, Questions 22–24.

     (i)   Statements, Part 13, Question 26 – Books, Records, and Financial Statements.
           The Debtors provide certain parties, such as banks, auditors, potential investors,
           vendors, and financial advisors, with financial statements that may not be part of a
           public filing. The Debtors do not maintain complete lists or other records tracking
           such disclosures. Therefore, the Debtors have not provided full lists of these parties
           in their Responses to Statement Question 26.

     (j)   Statements, Part 13, Question 28 – Current Partners, Officers, Directors, and
           Shareholders. The Debtors incorporate by reference the List of Equity Security
           Holders filed as part of their Voluntary Petitions.

     (k)   Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
           Credited or Given to Insiders. Distributions by the Debtors to their directors and
           officers are listed on the attachment to Question 4. Certain directors and executive
           officers of Shopko are also directors and executive officers of certain of Shopko’s
           Debtor and non-Debtor affiliates. To the extent payments to such individuals are
           not listed in the response to Question 4 on the Statements for such Debtor affiliates,



                                            13
Case 19-80069-TLS    Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13             Desc Main
                             Document      Page 15 of 26



           they did not receive payment for their services as directors or executive officers of
           these entities. Certain of the Debtors’ directors and executive officers received
           distributions net of tax withholdings in the year preceding the Petition Date. The
           amounts listed under Question 4 reflect the gross amounts paid to such directors
           and executive officers, rather than the net amounts after deducting for tax
           withholdings.



                             *       *       *      *       *




                                            14
             Case 19-80069-TLS                                    Doc 7            Filed 02/22/19 Entered 02/22/19 18:02:13                                                            Desc Main
                                                                                  Document      Page 16 of 26
 Fill in this information to identify the case:

 Debtor name            ShopKo Finance, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEBRASKA

 Case number (if known)               19-80069
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $     401,467,122.50


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        401,467,122.50




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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            Case 19-80069-TLS                         Doc 7           Filed 02/22/19 Entered 02/22/19 18:02:13          Desc Main
                                                                     Document      Page 17 of 26
 Fill in this information to identify the case:

 Debtor name         ShopKo Finance, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEBRASKA

 Case number (if known)         19-80069
                                                                                                                         Check if this is an
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Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
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            Case 19-80069-TLS                         Doc 7           Filed 02/22/19 Entered 02/22/19 18:02:13                 Desc Main
                                                                     Document      Page 18 of 26
 Debtor         ShopKo Finance, LLC                                                          Case number (If known) 19-80069
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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             Case 19-80069-TLS                            Doc 7           Filed 02/22/19 Entered 02/22/19 18:02:13                                        Desc Main
                                                                         Document      Page 19 of 26
 Debtor          ShopKo Finance, LLC                                                                                 Case number (If known) 19-80069
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 3
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             Case 19-80069-TLS                        Doc 7           Filed 02/22/19 Entered 02/22/19 18:02:13                                Desc Main
                                                                     Document      Page 20 of 26
 Fill in this information to identify the case:

 Debtor name          ShopKo Finance, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEBRASKA

 Case number (if known)              19-80069
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    See Attached Schedule D                       Describe debtor's property that is subject to a lien            $401,467,122.50                   Unknown
        Creditor's Name




        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




       Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.       $401,467,122.50
 3.

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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                                                              Case 19-80069-TLS        Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13                                        Desc Main
                                                                                               Document      Page 21 of 26
                                                                                                    In re ShopKo Finance, LLC
                                                                                                     Case No. 19-80069 (TLS)
                                                                              Schedule D: Part 1 - Creditors Who Have Claims Secured by Property




                                                                                                                                       Insider or Related Party?
                                                                                                                                                                              Date Debt was Incurred,




                                                                                                                                                                                                                     Unliquidated
                                                                                                                                                                              Description of Debtor's                                           Amount of Claim




                                                                                                                                                                                                        Contingent
                                                                                                                                                                   CoDebtor




                                                                                                                                                                                                                                    Disputed
                                                                                                                                                                              Property Subject to the                                          (Do not deduct the Value of Collateral
                                                                                                                                                                               Lien and the Nature of                                             value of the    that Supports this
         Creditor Name                Address1                     Address2            City  State     Zip            Description                                                       Lien                                                       collateral)          Claim
                                                         One Boston Place,
Wells Fargo Bank, National     Attn: Portfolio Manager - Suite 1800 /                Boston MA 02108                                                                                         2/7/2012
Association and                Shopko                    227 North Harwood St, Suite                             Revolving and                                                                      &
Spirit Realty L.P. as Agents                             300                         Dallas TX     75201         Term Loan Debt       No Yes                                                1/16/2018                                            $401,467,122.50            Unknown
                                                                                                                                                                                               TOTAL:                                            $401,467,122.50            Unknown




                                                                                                             1 of 1
            Case 19-80069-TLS                         Doc 7           Filed 02/22/19 Entered 02/22/19 18:02:13                                   Desc Main
                                                                     Document      Page 22 of 26
 Fill in this information to identify the case:

 Debtor name         ShopKo Finance, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEBRASKA

 Case number (if known)           19-80069
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

     1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
        out and attach the Additional Page of Part 2.
 3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                                Contingent
                                                                                Unliquidated
           Date or dates debt was incurred
                                                                                Disputed
           Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?       No     Yes


 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                     related creditor (if any) listed?               account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                            0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                              0.00




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 1
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            Case 19-80069-TLS                         Doc 7           Filed 02/22/19 Entered 02/22/19 18:02:13                     Desc Main
                                                                     Document      Page 23 of 26
 Fill in this information to identify the case:

 Debtor name         ShopKo Finance, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEBRASKA

 Case number (if known)         19-80069
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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            Case 19-80069-TLS                         Doc 7           Filed 02/22/19 Entered 02/22/19 18:02:13                 Desc Main
                                                                     Document      Page 24 of 26
 Fill in this information to identify the case:

 Debtor name         ShopKo Finance, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEBRASKA

 Case number (if known)         19-80069
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      See Attached                                                                                                           D
             Schedule H                                                                                                             E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                         Case 19-80069-TLS    Doc 7    Filed 02/22/19 Entered 02/22/19 18:02:13             Desc Main
                                                          In re ShopKoPage
                                                      Document        Finance,
                                                                            25LLC
                                                                                of 26
                                                         Case No. 19-80069 (TLS)
                                                         Schedule H: Codebtors

                                                                                                                                      Applicable
                                                                                                                                      Schedules
                    Name of Codebtor                      Address               City     State    Zip        Name of Creditor         (D, E/F, G)
                                                                                                         Wells Fargo Bank, National
Pamida Stores Operating Co., LLC                700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D
                                                                                                         Wells Fargo Bank, National
Pamida Transportation, LLC                      700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D
                                                                                                         Wells Fargo Bank, National
Penn-Daniels, LLC                               700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D
                                                                                                         Wells Fargo Bank, National
Place's Associates Expansion, LLC               700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D
                                                                                                         Wells Fargo Bank, National
Retained R/E SPE, LLC                           700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D
                                                                                                         Wells Fargo Bank, National
Shopko Gift Card Co., LLC                       700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D
                                                                                                         Wells Fargo Bank, National
Shopko Holding Company, LLC                     700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D
                                                                                                         Wells Fargo Bank, National
Shopko Institutional Care Services Co., LLC     700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D
                                                                                                         Wells Fargo Bank, National
Shopko Optical Manufacturing, LLC               700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D
                                                                                                         Wells Fargo Bank, National
Shopko Properties, LLC                          700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D
                                                                                                         Wells Fargo Bank, National
Shopko Stores Operating Co., LLC                700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D
                                                                                                         Wells Fargo Bank, National
Specialty Retail Shops Holding Corp.            700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D
                                                                                                         Wells Fargo Bank, National
SVS Trucking, LLC                               700 Pilgram Way              Green Bay   WI      54304     Association as Agent           D




                                                                    1 of 1
          Case 19-80069-TLS                   Doc 7       Filed 02/22/19 Entered 02/22/19 18:02:13                             Desc Main
                                                         Document      Page 26 of 26




Fill in this information to identify the case:

Debtor name         ShopKo Finance, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEBRASKA

Case number (if known)     19-80069
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       February 22, 2019               X /s/ Russell Steinhorst
                                                           Signature of individual signing on behalf of debtor

                                                            Russell Steinhorst
                                                            Printed name

                                                            Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
